                   UNITED STATES BANKRUPTCY COURT
                     MIDDLE DISTRICT OF ALABAMA


In re                                                Case No. 13-30545-DHW
                                                     Chapter 13
ZANDRA B. WALKER,

        Debtor.


                   ORDER GRANTING DEBTOR’S MOTION

      Debtors filed a motion (Doc. # 109) requesting a determination that the
mortgage loan with JPMorgan Chase Bank NA has been cured and is current as of
January 4, 2017. The matter came on for hearing on January 30, 2017. No
objection was filed to debtor’s motion. In accordance with the ruling from the
bench in open court, it is

     ORDERED that the motion is GRANTED and the indebtedness to
JPMorgan Chase Bank NA is current through January 4, 2017.

        Done this 30th day of January, 2017.




                                               Dwight H. Williams, Jr.
                                               United States Bankruptcy Judge


c: Debtor
   Richard D. Shinbaum, Attorney for Debtor
   Sabrina L. McKinney, Acting Trustee
   JPMorgan Chase Bank, NA, Creditor
   Hunter J. Tate, Attorney for Creditor




 Case 13-30545     Doc 112   Filed 01/30/17 Entered 01/30/17 14:02:32   Desc Main
                              Document     Page 1 of 1
